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 8
                             UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
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11
     BIT GLOBAL DIGITAL LIMITED,                   Case No.: 5:24-cv-9019
12
                       Plaintiff,                  COMPLAINT FOR:
13
              vs.
14                                                 (1) Violations of the Sherman Act, 15
                                                       U.S.C § 2 (Attempted
15   COINBASE GLOBAL, INC.                             Monopolization)
                       Defendant.                  (2) Violations of the Sherman Act, 15
16                                                     U.S.C § 2 (Monopolization)
17                                                 (3) Violation of the Lanham Act, 15
                                                       U.S.C. § 1125
18                                                 (4) Violation of the Unlawful Prong of
19                                                     the California Unfair Competition
                                                       Law, Cal. Bus. & Prof. Code §§
20                                                     17200, et seq.
                                                   (5) Violation of the Unfair, and
21                                                     Fraudulent Prongs of the California
22                                                     Unfair Competition Law, Cal. Bus. &
                                                       Prof. Code §§ 17200, et seq.
23                                                 (6) Intentional Interference with
                                                       Prospective Economic Advantage
24                                                 (7) Negligent Interference with
25                                                     Prospective Economic Advantage
                                                   (8) Trade Libel
26
27                                                 DEMAND FOR JURY TRIAL

28


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 1         1.      The cryptocurrency revolution began with a warning about the dangers of
 2   centralization—the danger that the more power an institution acquires, and the more of
 3   the market it concentrates on its own closed, centralized platform, the more it will use that
 4   power to crush its competitors and seize the fruits of their innovation for itself.
 5         2.      This is a tale as old as Silicon Valley. A centralized platform gains more and
 6   more users from a first mover advantage. It creates a moat for itself using network effects
 7   which lock those users into its platform. And then it starts changing the rules that got it
 8   there. After the bait-and-switch, smaller entrepreneurs find themselves the victims of a
 9   corporate goliath that sees their innovations merely as a resource to be grabbed by any
10   means possible and absorbed into itself.
11         3.      This happened with Microsoft when it tried to “cut off Netscape’s air supply” by
12   giving away a clone of its browser for free.1 It happened with Google when it cut deals
13   with mobile companies to shut down the competition for local search. It happened with
14   Facebook when it cut off successful app developers at the knees and forced them out of
15   business the moment they were a competitive threat. 2 And now it is happening with
16   Coinbase.
17         4.      Like all the centralized tech giants before it, Coinbase gives lip service to the
18   innovation of a decentralized world. But in the case of wrapped Bitcoin, Coinbase viewed
19   it as just another cash grab. It saw a competitor, wBTC, that had something it wanted: an
20   innovative product that released value inherent in Bitcoin and let users utilize that value
21   in bold new ways. And following the playbook of its predecessors, Coinbase decided it
22   would take what it wanted. Once the value in wBTC had been demonstrated, Coinbase
23   changed the rules, delisting wBTC from its platform so that it could no longer be traded
24   on the Coinbase platform—and it did so shortly after launching its own knock-off clone
25   called cbBTC.
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28   1
         https://en.wikipedia.org/wiki/United_States_v._Microsoft_Corp
     2
         https://www.ftc.gov/system/files/documents/cases/ecf_75-1_ftc_v_facebook_public_redacted_fac.pdf


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 1         5.      This lawsuit seeks to right this wrong and give the choice back to consumers. It
 2   seeks to prevent another corporate giant from knocking off cryptocurrency applications
 3   developed by others one-by-one only to absorb them into itself. And it seeks to put limits
 4   on that centralization of power and restore the vision of wrapped Bitcoin to the
 5   decentralized innovation it was supposed to be.
 6                                          JURISDICTION AND VENUE
 7         6.      Plaintiff BiT Global Digital Limited (“BiT Global”) is a company incorporated
 8   in the British Virgin Islands.
 9         7.      Defendant Coinbase Global, Inc. (“Coinbase”) is a Delaware corporation.
10         8.      This Court has jurisdiction because Plaintiff’s Sherman antitrust claim arises
11   under federal law. 15 U.S.C. § 1, et seq.
12         9.      This Court also has diversity jurisdiction because there is complete diversity
13   between the parties, and Plaintiff BiT Global Digital Limited has already suffered and will
14   incur substantial damages from lost future revenues and profits. Most significantly,
15   because of the reduction of wBTC’s market share and the attack on its reputation BiT
16   Global stands to lose more than $1 billion in its market valuation, especially if Coinbase’s
17   conduct continues unabated. Coinbase’s own profits from its wrongful conduct are also a
18   proper measure of damage. Further any damages may be trebled. Plaintiff has incurred in
19   excess of the $75,000 federal jurisdictional threshold for damages already, satisfying the
20   minimum requirements for diversity jurisdiction.
21         10.     This Court has supplemental jurisdiction over the state law claims in this action
22   pursuant to 28 U.S.C. § 1367.
23         11.     This Court has personal jurisdiction over Coinbase because Coinbase is a
24   registered California foreign corporation. Coinbase claims to be a decentralized company
25   with no headquarters, but states on its website that “if you had asked us in [2020], the
26   answer would have been San Francisco.”3 In July 2023 Coinbase leased 40,000 square
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     3
         https://www.coinbase.com/blog/coinbase-is-a-decentralized-company-with-no-headquarters (accessed November 30, 2024).


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 1   feet in Mountain View, California,4 and Coinbase’s CEO, Brian Armstrong, lists Coinbase
 2   as being “located in the San Francisco Bay Area.”5 Coinbase applies California law in its
 3   online user terms of service and requires its users to submit to California as the venue for
 4   any arbitrations or court claims.6
 5       12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because
 6   Coinbase resides in this judicial district. To the extent Coinbase does not reside in this
 7   judicial district then venue is proper under 28 U.S.C. § 1391(b)(3).
 8                                         INTRADISTRICT ASSIGNMENT
 9       13.     Defendant Coinbase’s headquarters are in Mountain View, located in Santa Clara
10   County, and a substantial part of the events or omissions which give rise to the claim
11   occurred there. Pursuant to Civil L.R. 3-2(e), assignment is appropriate in the San Jose
12   Division.
13                                             NATURE OF THE ACTION
14       14.     BiT Global and its affiliates are involved in the wrapped Bitcoin product
15   (“wBTC”) operation. They manage the minting and redemption of wBTC, which is
16   pegged 1:1 to Bitcoin. It is designed to bring Bitcoin’s liquidity to other blockchain
17   ecosystems, such as Ethereum. This allows Bitcoin holders to interact with decentralized
18   finance (DeFi) applications and decentralized exchanges (DEXs) on other blockchain
19   networks without having to sell their Bitcoin.
20       15.     Coinbase is the largest US-based cryptocurrency exchange.
21       16.     Coinbase has allowed the trading of wBTC on the Coinbase exchange since at
22   least October 2020.7
23       17.     Coinbase recently launched its own competing product to wBTC, which is
24   known as cbBTC. As explained further below, cbBTC is a different cryptocurrency but it
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       https://therealdeal.com/sanfrancisco/2023/07/17/coinbase-leases-office-space-at-silicon-valley-tech-center/ (accessed
27   November 30, 2024).
     5
       https://www.linkedin.com/in/barmstrong (accessed November 30, 2024).
28   6
       https://www.coinbase.com/legal/user_agreement/united_states (accessed November 30, 2024).
     7
       https://www.coinbase.com/blog/wrapped-Bitcoin-wbtc-is-now-available-on-coinbase (accessed December 11, 2024).


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 1   purports to offer similar benefits to cryptocurrency token holders that wBTC offers,
 2   namely the seamless interaction of Bitcoin on other blockchain networks.
 3      18.      cbBTC is a product that is directly competitive to wBTC.
 4      19.      Coinbase announced its cbBTC product in September 2024.
 5      20.      On November 19, 2024, roughly two months after announcing its cbBTC
 6   product, Coinbase announced on the X platform (formerly Twitter) that it would delist the
 7   wBTC cryptocurrency, effectively kicking its competitor off of the platform and depriving
 8   the market of the ability to trade wBTC. No written decision or reasoning was ever
 9   published or given to wBTC, and there is no process for wBTC to appeal against any
10   decision.
11      21.      Clearly, Coinbase has decided to exclusively promote its own wrapped Bitcoin
12   product (cbBTC) on the Coinbase exchange.
13      22.      Coinbase’s plan to delist wBTC is clearly aimed to force its public
14   cryptocurrency users who wish to use wrapped Bitcoin into using cbBTC, which is
15   predatory and unfair competition that violates both federal and state law.
16                                    FACTUAL ALLEGATIONS
17                                         BACKGROUND
18      23.      Bitcoin is the most famous cryptocurrency. Bitcoin was designed to allow the
19   simple transfer stores of value (cryptocurrency) between digital wallets. Bitcoin uses a
20   digital ledger, a blockchain, to track all transactions on the network.
21      24.      Later cryptocurrencies developed after Bitcoin implemented significant
22   improvements in the way digital transactions could be recorded. These improvements
23   include the speed in which transactions are logged and the type of transactions that could
24   be utilized.
25      25.      Bitcoin remains the most famous and most valuable cryptocurrency even though
26   other cryptocurrency technology has surpassed the Bitcoin in the speed and efficiency in
27   which transactions are added to the blockchain. Those new technologies, including a
28   blockchain network called Ethereum, allowed users to not just use cryptocurrency as a


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 1   store of value, but for self-executing “smart contracts” that could decentralize not just
 2   currency, but eliminate middlemen from a broad swathe of industries including escrow
 3   services and traditional banks.
 4      26.   Bitcoin’s design was locked into place. But in 2018, a group of companies
 5   realized that Bitcoin’s technological constraints could be overcome—and owners of
 6   Bitcoin could unlock new value while continuing to possess the underlying asset by
 7   “wrapping” Bitcoin into another blockchain network.
 8      27.   In this context a user “wraps” their Bitcoin by depositing their Bitcoin into the
 9   digital wallet of a trusted third party, which is known as a custodian. That custodian then
10   issues a token or digital coin on another blockchain network, such as Ethereum. The new
11   digital coin acts as a proxy for the Bitcoin asset. Meanwhile, the custodian holds the
12   Bitcoin in trust for the user.
13      28.   This process of wrapping Bitcoin is very much akin to the trading of
14   commodities, such as gold and silver. Gold, for example, is an exchange-traded product.
15   In a physically backed gold ETP, a custodian physically holds gold in its vault on behalf
16   of investors. Investors trade the certificates, each of which is physically backed by
17   allocated gold that the custodian holds.
18      29.   The goal, both for gold and for wrapped Bitcoin, is for the price of the traded
19   item (wrapped Bitcoin or the gold certificate) to very closely mirror the price of the
20   underlying assets.
21      30.   In cryptocurrency parlance, the process of a user submitting their Bitcoin in
22   exchange for a wBTC token to be used on the Ethereum network is called “minting” a
23   new wBTC token. Similarly, when a wBTC token holder wishes to redeem (or “unwrap”)
24   their wBTC for the underlying Bitcoin the holder redeems their token by “burning” it. The
25   token is then effectively burned and the holder then receives their Bitcoin back from the
26   custodian.
27      31.   BitGo, a current partner of BiT Global, announced its version of wrapped Bitcoin
28   in October 2018, and began issuing wrapped Bitcoins on Ethereum network in January


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 1   2019. These wrapped Bitcoins (known as wBTC) were not and are not the only wrapped
 2   Bitcoin product in existence.
 3      32.     Over time wBTC became the most popular wrapped Bitcoin product. Since its
 4   inception wBTC has grown such that its outstanding tokens represent more than $13
 5   billion worth of all Bitcoin using current exchange rates.
 6      33.     In 2024 BiT Global and its affiliates formed a joint venture relationship with
 7   BitGo to manage and operate the wBTC business, and BiT Global Trust Limited would
 8   act as the custodian of the underlying Bitcoin of wBTC.
 9      34.     The joint venture arrangement further provided that BitGo and its Singapore
10   subsidiary would hold two of the three custodian keys for the wBTC custodial digital
11   wallets holding the underlying Bitcoins (“Custodial Wallet”). BiT Global Trust Limited
12   holds the third custodian key.
13      35.     Two keys are required to unlock access to the Custodial Wallet.
14      36.     Therefore no single party can unilaterally access the Bitcoins that are held as
15   underlying assets for wBTC. BitGo representatives must also participate in any unlocking
16   of the Custodial Wallet.
17      37.     BiT Global earns a processing fee whenever a user mints or redeems wBTC
18   through authorized merchants.
19                              COINBASE’S wBTC KNOCK-OFF
20      38.     Coinbase is a centralized cryptocurrency exchange, with a dominant market share
21   in the United States. It allows users to swap cryptocurrencies for the prevailing rates,
22   purchase cryptocurrency with fiat currency (such as the US Dollar or the Euro), or sell
23   cryptocurrency for fiat currency.
24      39.     Coinbase does this by holding its users’ cryptocurrencies in a Coinbase-
25   controlled digital wallet. Users with Coinbase accounts see totals much like a bank shows
26   account totals to its customers, but all of the cryptocurrency is stored in central digital
27   wallets.
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 1       40.      Having achieved the network effects that were its goal, it has now embarked on
 2   an effort to use that power to replace cryptocurrencies created by others with its own
 3   knock-off versions—with Coinbase taking short term-losses to keep profits for itself long-
 4   term as its knock-off gains market share. And wBTC is Coinbase’s first target.
 5       41.     Coinbase is the largest US-based cryptocurrency exchange based on multiple
 6   measures including trading volume, total value of assets, and web traffic. Its market share
 7   of the centralized cryptocurrency exchange market by several measures exceeds 60% and
 8   by some measures exceeds 75%.8
 9       42.     Coinbase’s CEO has stated earlier this year that “Bitcoin ETFs are now the
10   second largest commodity ETFs in the U.S. (behind gold), and we [Coinbase] custody
11   around 90% of the ~$37B in Bitcoin ETF assets. We've seen net inflows across our retail
12   & institutional products since the ETFs launched (i.e. no cannibalization).”9
13       43.     Coinbase’s size and dominance within the US market is of particular importance
14   to US consumers because other non-US cryptocurrency exchanges, such as Binance, either
15   completely ban US consumers or restrict US consumers’ access to many trading features.
16       44.     Additionally, while the cryptocurrency community recognizes that Coinbase
17   enjoys significant market share in the US market, the traditional concept of market share
18   does not fully portray Coinbase’s ability to influence the cryptocurrency market.
19       45.     In particular, Coinbase’s listing decisions have substantial power to affect coin
20   trading volumes, liquidity, and the decisions of other exchanges whether to list coins for
21   trading.
22       46.     For example in a March 2024 paper, graduate students from Columbia University
23   Business School and University of Chicago, Booth School of Business wrote about the
24   significant market impact that Coinbase has on the cryptocurrency market: “Coinbase
25   listings are associated with an average 236pp increase in total volumes within first 30
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       https://bitcoinke.io/2023/04/coinbase-market-share-in-united-states/; https://u.today/coinbase-market-share-in-us-rises-to-
28   61-despite-sec-lawsuit
     9
       https://x.com/brian_armstrong/status/1758531949331927217


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 1   days. … thus, … every dollar captured by Coinbase generates $2.39 dollars of trade
 2   volume on other exchanges…. Thus, for both [Binance and Coinbase], a large fraction of
 3   the volume increases associated with listings are due to the indirect effects on other
 4   exchanges.”10
 5        47.   On September 12, 2024, Coinbase announced its decision to issue its own version
 6   of wrapped Bitcoin, which it named cbBTC.
 7        48.   Coinbase’s own website is currently touting its plans to drive wBTC out of the
 8   market. It features the tweet below on its website urging users to switch to cbBTC:
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24        49.   The tweet—which Coinbase is re-publishing on its own website—describes
25   cbBTC as “super strategic to Coinbase.” And it predicts that cbBTC “[p]asses WBTC in
26   supply within 6 months of launch (unless acquisition falls thru).”11 On information and
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     10
        Junyi Hu, Anthon Lee Zhang, Competition in the Cryptocurrency Exchange Market, March 2024 (available at:
28   https://anthonyleezhang.github.io/pdfs/cryptoexchanges.pdf).
     11
        https://www.coinbase.com/cbbtc


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 1   belief, the acquisition refers to Coinbase’s acquisition of Utopia Labs. Coinbase has
 2   transferred the developers from Utopia Labs to its “Base” network to help drive cbBTC
 3   as a competitor to wBTC as part of a broader plan to create its own payments
 4   infrastructure.12
 5        50.   cbBTC will benefit Coinbase in the long run by driving transaction fees on the
 6   Coinbase platform, which increase as it gains market share for the product. And in the
 7   long term, driving wBTC out of business is a key part of Coinbase’s strategic plan to
 8   position itself in the financial industry. Another tweet quoted by Coinbase on the cbBTC
 9   page of its website describes the coin as part of a “vampire attack on finance as a whole.”
10   This strategy also creates long run profits for Coinbase, as the company itself described in
11   a blog post: “There’s a natural flywheel here: Base is supporting developers who build
12   onchain apps, those apps attract users onchain, Wallet onboards those users, and in turn
13   more users incentivizes more developers to build onchain. And the faster we spin this
14   flywheel, the easier it will be to bring more and more people onchain.”13
15        51.   The importance of Coinbase’s strategy to drive wBTC out of the marketplace is
16   repeatedly touted on its website. Coinbase explains the importance of the wrapped Bitcoin
17   market: “By bringing non-Ethereum assets onchain, wrapped assets like cbBTC help build
18   a more efficient, interconnected and expansive financial ecosystem.” 14 And it drives
19   customers to Coinbase more broadly: “cbBTC is moving money forward. We’re one step
20   closer to bringing 1 billion people onchain.”
21        52.   Coinbase posted a whitepaper for cbBTC which makes clear that its plan is to
22   take short term losses in order to dominate the market and make profits in the long run:
23   “There are no fees associated with minting/wrapping or burning/unwrapping cbBTC
24   today. Users will be charged network fees for withdrawals from Coinbase.” 15 On
25   information and belief, Coinbase used this language—that it would not charge
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27   12
        https://cointelegraph.com/news/coinbase-buys-on-chain-payments-platform-utopia
     13
        https://www.coinbase.com/blog/coinbase-acquiring-team-to-accelerate-onchain-payments
28   14
        https://www.coinbase.com/cbbtc
     15
        https://coinbase.bynder.com/m/1303c2f4d78fc966/original/cbBTC-White-Paper.pdf (emphasis added).


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 1   wrapping/unwrapping fees “today”—because it plans to do so once it has unfairly
 2   eliminated the competition.
 3        53.   Coinbase began minting the first cbBTC tokens on or about September 12, 2024.
 4        54.   cbBTC offers similar features to wBTC and therefore it is a competitive product
 5   to BiT Global’s wBTC.
 6        55.   On November 19, 2024, Coinbase announced to the public that it planned to
 7   delist wBTC. And it did so based on a false and defamatory statement about its reasons
 8   for the decision on Twitter: “We regularly monitor the assets on our exchange to ensure
 9   they meet our listing standards. Based on our most recent review, Coinbase will suspend
10   trading for wBTC (wBTC) on December 19, 2024, on or around 12pm ET.” No written
11   decision or reasoning was ever published or given to wBTC, and there is no process for
12   wBTC to appeal against any decision. Coinbase had not raised any issues with wBTC
13   prior to this announcement.
14        56.   Shortly thereafter, a Coinbase spokesperson was quoted in Yahoo! Finance,
15   stating, “[e]ach asset is reviewed independently to meet our listing standards. wBTC no
16   longer meets these standards.”16
17        57.   But these statements, which suggest that wBTC had not met Coinbase’s “listing
18   standards,” were false statements intended to frighten users away from wBTC—a tactic
19   known in Silicon Valley as “FUD,” which refers to intentionally spreading fear,
20   uncertainty, and doubt about a competitor’s product. Having decided to copycat wBTC
21   with its own product, Coinbase resorted to unfair and deceptive tactics that long been used
22   by tech giants to crush their competition.
23        58.   To the best of BiT Global’s knowledge, Coinbase has not publicly stated what
24   listing standards wBTC does not meet. This is because Coinbase did not perform an
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       https://finance.yahoo.com/news/bit-global-accuses-coinbase-delisting-
27   081937294.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQAAAN5Y
     1glCwt3utcrn8eM2JzQ0SKEv5xsyNrA_lchBvF3-
28   QRRkrl3gzl5Z2tQMsaD2yMIwS4CH2F2ZbWBkM5VxvPUl6YMN6Hxjc80RpzJk-l6bRv3y4QJAc-
     9yzkzwDXWgAJXuUOyEtqm7MFZzHaABWRdzZLFGBCYRrqwEdUZMGU9s


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 1   objective analysis against set standards. Instead, the decision to delist wBTC is a
 2   transparent attempt to push cryptocurrency holders to divest their wBTC in favor of
 3   Coinbase’s competing cbBTC token.
 4      59.   Coinbase, will of course, continue to allow trading of its competitive cbBTC
 5   product on its platform after its imminent delisting of wBTC.
 6      60.   On November 19, the day of Coinbase’s announcement, there were
 7   approximately 146,172 wBTC in circulation representing more than $13.1 billion in value
 8   based on Bitcoin’s price on that day.
 9      61.   Four days after Coinbase’s announcement that it would delist wBTC, on
10   November 23, the total wBTC in circulation dropped to approximately 140,830. The total
11   wBTC in circulation dropped again to approximately 138,124 by November 30. Together
12   these drops represent a reduction of more than 5% of total wBTC supply in less than two
13   weeks:
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                   COINBASE’S NONEXISTENT LISTING “STANDARDS”
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        62.   While Coinbase claims to have made the decision to delist wBTC to adhere to
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     the company’s “listing standards,” the truth is that Coinbase has virtually no standards for
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     what can be listed at all. Around the same time that it was delisting wBTC, Coinbase has
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 1   onboarded various “memecoins” which unlike wBTC have no inherent value other than
 2   demand created by their memetic potential as jokes. The decision to allow users to trade
 3   these memecoins makes clear that Coinbase did not delist wBTC because of any listing
 4   standard, but because Coinbase coveted wBTC’s market share and wanted it for itself.
 5          63.    On November 13, 2024, Coinbase announced that it was listing a memecoin
 6   called PEPE, named after a controversial picture of a cartoon frog which has been
 7   identified as a hate symbol and/or a “racist frog.” The coin is promoted to “Dank Meme
 8   Enjoyoors” with an official website that purports to perform an “Autism Test” on their
 9   computers to ensure that the user’s autism is over 9,000 before proceeding.17
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          https://www.pepecoin.io/


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 1      64.   The logo for the coin is featured below:
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11      65.   The PEPE coin passed Coinbase’s nonexistent listing “standards” just six days

12   before wBTC supposedly failed them.

13      66.   Also on November 13, 2024, Coinbase announced that a cryptocurrency called

14   “Dogwifhat” had been listed under the symbol WIF. Dogwifhat (with “wif” being slang

15   for “with”) is, quite literally, a picture of a dog with a hat. A screenshot of the

16   cryptocurrency’s official webpage is below:

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 1          67.     The webpage for Dogwifhat announces proudly that the cryptocurrency is
 2   “LITERALLY JUST A DOG WIF A HAT,” with a parody of promotional language
 3   crossed out in red. A scrolling ticker across the top of the website repeatedly informs
 4   purchases that “I mean bro, it’s literally a dog wif a hat.” The dog does, indeed, have a
 5   hat—and Coinbase chose to list this coin six days before delisting wBTC.
 6          68.     On December 3, 2024, Coinbase announced that it was listing Mog Coin under
 7   the ticker symbol MOG. The coin’s website describes itself as “tokenized winning.”18
 8   Mog Coin satirizes the idea of having a business case for a cryptocurrency, posting a one-
 9   page White Paper on its website that consists solely of the following:
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21          69.     The Mog website contains a similar picture of an animated cat in sunglasses and
22   features numerous cat emojis, along with the following prominent LEGAL
23   DISCLAIMER: “$MOG is a crypto coin with no intrinsic value or expectation of financial
24   return. Just because some people are getting ridiculously rich buying crypto doesn’t mean
25   you definitely will. MOG is to be used strictly for getting laid and for entertainment
26   purposes only.”
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          https://mogcoin.xyz/


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 1          70.    Coinbase’s decision to list Mog just two weeks after delisting wBTC
 2   demonstrates that the decision had nothing to do with standards, and everything to do with
 3   unfairly and fraudulently pushing wBTC out of the market. Mog—which prominently
 4   informs users that it has no value and “is to be used strictly for getting laid”—would not
 5   have been listed if there were, in fact, some actual listing standard being applied by
 6   Coinbase to delist wBTC.
 7          71.    These are just a few of multiple examples of cryptocurrencies Coinbase has been
 8   listing during this time which, while humorous, could not even remotely have survived
 9   the kind of review that Coinbase pretends to do for its platform. As reported by Crypto
10   Times, Coinbase has been engaged in a “meme coin listing spree.”19
11          72.    But by pretending that wBTC failed a listing standard that does not actually
12   exist—and is not actually applied to other cryptocurrencies—Coinbase sabotaged wBTC
13   as part of its effort to replace it. And it communicated this falsehood and spread it widely
14   in the cryptocurrency community. Its tweet spreading this falsehood has to date been
15   viewed more than 500,000 times:
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          https://www.cryptotimes.io/2024/12/03/coinbase-adds-mog-coin-to-meme-coin-listing-roadmap/


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 1                                      CAUSES OF ACTION
 2                                    FIRST CAUSE OF ACTION
 3        Unlawful Violations of the Sherman Act – Attempted Monopolization of the
 4                          Wrapped Bitcoin Market in the United States
 5                                              15 U.S.C § 2
 6      73.      Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
 7   set forth fully herein.
 8      74.      The Defendant’s conduct here is unlawful because it committed violations of 15
 9   U.S.C. § 2, which prohibits attempted monopolization of trade or commerce.
10      75.      Coinbase had the specific intent to monopolize or destroy competition in the
11   wrapped Bitcoin market in the United States, and attempted to monopolize that market or
12   destroy competition in it. In fact, Coinbase announced this intent to do so by posting a
13   tweeted prediction on its website that it would surpass wBTC within six months. By
14   delisting wBTC, Coinbase intended to deny its main competitor access to its user base
15   entirely and exclude them from the market.
16      76.      Coinbase engaged in predatory or anticompetitive conduct to accomplish the
17   monopolization. It has used its dominant power in one market—the market for centralized
18   cryptocurrency exchanges in the United States—to attempt to exclude wBTC from that
19   market. It has made false statements about the reasons for its delisting (with implications
20   that the delisting was based on an in-depth review of wBTC using neutral standards, and
21   implications that Coinbase possesses damaging information about wBTC which caused the
22   delisting). These activities have created “FUD” surrounding wBTC (fear, uncertainty, and
23   doubt) and were part of an intentional strategy to do so.
24      77.      Coinbase’s activities have a dangerous probability of success. Indeed, Coinbase
25   itself has touted predictions that it will soon displace wBTC with its cbBTC knock-off.
26   Without access to a large portion of the market for United States cryptocurrency users,
27   wBTC will be at a competitive disadvantage and risks being excluded from the market
28   entirely.


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 1      78.     Plaintiff has suffered, and will suffer, causal antitrust injury. As discussed above,
 2   it has already suffered a loss of market share which was directly caused by the delisting
 3   announcement. It will further suffer injury if Coinbase is permitted to delist wBTC and
 4   force liquidations of the positions individual users hold in wBTC. And as Coinbase
 5   consolidates its market share via this anticompetitive conduct, Plaintiff will continue to be
 6   injured.
 7      79.     Users of wBTC have been injured by Coinbase’s anticompetitive conduct. They
 8   are being forced to liquidate their positions or transfer them away from Coinbase’s
 9   exchange. And competition in the market for wrapped Bitcoin has been injured as well.
10   The delisting of wBTC sends a signal that competitors to cbBTC may be delisted at any
11   time at Coinbase’s whim. It discourages application developers and other third parties in
12   the market from developing technologies compatible with wrapped Bitcoin competitors to
13   cbBTC generally, because they know that Coinbase may arbitrarily exclude them from its
14   exchange in the future as well just as it did with wBTC. The “FUD” Coinbase has
15   intentionally created further discourages such competitive innovation. Excluding wBTC
16   from third party applications excludes it as a potential option for users, which further
17   injures competition in the market.
18      80.     There are no pro-competitive justifications for Coinbase’s conduct that offset the
19   harm caused by its anticompetitive and illegal conduct.
20                                   SECOND CAUSE OF ACTION
21    Unlawful Violations of the Sherman Act – Monopolization of the Wrapped Bitcoin
22                                    Market in the United States
23                                              U.S.C § 2
24      81.     Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
25   set forth fully herein.
26      82.     The Defendant’s conduct here is unlawful because it committed violations of 15
27   U.S.C. § 2, which prohibits monopolization of trade or commerce.
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 1      83.     Coinbase has dominant market share in the market for centralized cryptocurrency
 2   exchanges in the United States, as explained supra, and therefore has monopoly power
 3   within this market. There are significant barriers to entry to the market of centralized
 4   cryptocurrency exchanges in the United States. For example, network effects make it
 5   difficult for new entrants to gain market share. There is a “lock-in” effect that makes it
 6   difficult to convince users to switch their accounts to a new centralized cryptocurrency
 7   exchange, because users lose easy access to their trading data and history and have to make
 8   cumbersome financial transfers. A new cryptocurrency exchange must further deal with
 9   difficult and expensive regulatory issues and must enable trading of hundreds of
10   cryptocurrencies. Existing competitors cannot increase their share easily in the short run
11   because of the difficulty of convincing consumers to switch exchanges.
12      84.     Because of Coinbase’s large market share in the centralized cryptocurrency
13   exchange market, its actions had a significant effect in foreclosing wBTC from the wrapped
14   Bitcoin market in the United States. Third party developers of applications which utilize
15   wrapped Bitcoin will be discouraged from utilizing it instead of cbBTC, which will have a
16   broader potential userbase in the United States because of Coinbase’s illegal and
17   anticompetitive actions. Those third party applications help drive usage of wrapped
18   Bitcoin.
19      85.     In addition to this circumstantial evidence of monopoly power, the effects of
20   Coinbase’s actions on wBTC’s market share described supra are direct evidence of its
21   monopoly power. Coinbase’s actual exclusion of wBTC via its delisting is further direct
22   evidence of its monopoly power.
23      86.     The wrapped Bitcoin market in the United States is an adjacent market to the
24   market for centralized cryptocurrency exchanges in the United States. Wrapped Bitcoin
25   trades on centralized cryptocurrency exchanges, and depends on access to those exchanges
26   for a significant portion of its market share. The user base between the two markets is
27   overlapping. Power in the market for centralized cryptocurrency exchanges provides a
28   significant amount of leverage and power over the market for wrapped Bitcoin, because


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 1   that power can be abused to exclude a wrapped Bitcoin product from the exchange and
 2   thus exclude it from a significant portion of the market.
 3      87.   Coinbase has extended its power into the adjacent market for wrapped Bitcoin by
 4   creating its knock-off product, cbBTC, by delisting its competitor, wBTC, and by engaging
 5   in its “FUD” campaign. The anticompetitive conduct at issue was designed to help
 6   Coinbase in this adjacent market by attempting to force wBTC out of the wrapped Bitcoin
 7   market in the United States.
 8      88.   Coinbase’s actions are anticompetitive. Collectively, Coinbase’s actions have a
 9   cumulative effect that has harmed competition in the wrapped Bitcoin market, including
10   raising barriers to competition by current and potential competitors and limiting
11   innovation. As described in the First Cause of Action, and incorporated herein by reference,
12   Coinbase’s anticompetitive actions have injured Plaintiff, injured consumers, and injured
13   competition.
14      89.   There are no pro-competitive justifications for Coinbase’s conduct that offset the
15   harm caused by its anticompetitive and illegal conduct.
16                                  THIRD CAUSE OF ACTION
17                                  Violation of the Lanham Act
18                        15 U.S.C. § 43 (now known as 15 U.S.C. § 1125)
19      90.   Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
20   set forth fully herein.
21      91.   Under 15 U.S. Code § 1125(a)(1)(B), “[a]ny person who, on or in connection
22   with any goods or services, or any container for goods, uses in commerce any word, term,
23   name, symbol, or device, or any combination thereof, or any false designation of origin,
24   false or misleading description of fact, or false or misleading representation of fact,
25   which… in commercial advertising or promotion, misrepresents the nature,
26   characteristics, qualities, or geographic origin of his or her or another person’s goods,
27   services, or commercial activities, shall be liable in a civil action by any person who
28   believes that he or she is or is likely to be damaged by such act.”


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 1          92.     Defendant made a false, misleading, confusing, or deceptive statement of fact in
 2   a commercial advertisement about Plaintiff’s wBTC. On November 19, 2024 at 9:14am,
 3   Coinbase Assets posted on X: “We regularly monitor the assets on our exchange to ensure
 4   they meet our listing standards. Based on our most recent review, Coinbase will suspend
 5   trading for wBTC (wBTC) on December 19, 2024, on or around 12pm ET.”
 6          93.     Defendant made a false, misleading, confusing, or deceptive statement of fact
 7   about Plaintiff’s wBTC to Yahoo! Finance, “Each asset is reviewed independently to meet
 8   our listing standards. wBTC no longer meets these standards.”20
 9          94.     Yahoo! Finance republished this quote to the public in a November 22, 2024
10   article on its website.
11          95.     Defendant made a false, misleading, confusing, or deceptive statement of fact
12   about Plaintiff’s wBTC to Cointelegraph, “Each asset is reviewed independently of each
13   other, and each must independently maintain compliance with Coinbase’s listing
14   standards. wBTC no longer meets Coinbase listing standards.”21
15          96.     Cointelegraph republished this quote to the public in a November 21, 2024 article
16   on its website.
17          97.     Each of the above statements (on X and to Yahoo! Finance and Cointelegraph)
18   are false, misleading, confusing or deceptive because Coinbase lists other coins that do
19   not meet their purported listing standard, and Coinbase’s statement was designed to scare
20   members of the public away from wBTC and over to Coinbase’s cbBTC by suggesting
21   that Coinbase had performed a rigorous analysis of a listing standard which it did not
22   actually do. The statements further implied false assertions of fact, namely that wBTC was
23   unreliable or unsafe to invest in or transact business in. These statements implied the
24   existence of undisclosed supporting facts for those statements which Coinbase possessed,
25   namely that there was negative information in Coinbase’s possession which made wBTC
26   no longer a safe or reliable product.
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28   20
          https://finance.yahoo.com/news/bit-global-accuses-coinbase-delisting-081937294.html
     21
          https://cointelegraph.com/news/bit-global-claims-coinbase-delisted-wbtc-for-competitive-advantage


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 1      98.    These statements were commercial advertisement or promotion. They are
 2   commercial speech because they are being made for the purpose of communicating to
 3   customers or potential users of Coinbase, cbBTC, and wBTC. They were disseminated
 4   widely to the public, with at least 500,000 viewers of the tweet alone. Their subject matter
 5   is commercial, namely which products can be bought and sold on Coinbase and why.
 6   Coinbase is in commercial competition with Plaintiff, and has been since announcing its
 7   cbBTC knock-off of wBTC. As discussed supra, Coinbase brags on its website about its
 8   plans to replace wBTC with cbBTC and overtake its market share within six months of
 9   launch. The statements were made for the purpose of influencing consumers to buy
10   Coinbase’s cbBTC product, and to convince them to liquidate their wBTC to do so.
11      99.    The statements were made with malice. Coinbase made the statements as part of
12   an intentional effort to create “FUD” and overtake wBTC with its own knock-off coin.
13   They were part of an organized campaign to convince users to switch from wBTC to
14   cbBTC, and were related to its delisting of wBTC and forcing Coinbase users to no longer
15   use it.
16      100. The statements were made without privilege, as they were made publicly on
17   Twitter and in other publications.
18      101. Defendant’s statements deceive or have the tendency to deceive a substantial
19   segment of the cryptocurrency audience. They are literally false by implication, namely,
20   in the implication that wBTC is unsafe or risky such that it would not meet neutral,
21   unbiased listing standards.
22      102. Defendant’s false statements are deceptive and material because the statements
23   will influence purchasing decisions or decisions about whether to liquidate wBTC and
24   switch to cbBTC. A failure to meet listing standards—if those “standards” had in fact been
25   rigorous or unbiased as Coinbase purports them to be—would be material to users’
26   decisions because it suggests there is some unknown negative information in Coinbase’s
27   possession that it knew meant wBTC was risky to use or own.
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 1      103. Defendant caused its false statement to enter interstate commerce because
 2   Defendant posted the statement on X (formerly Twitter) and the statement was
 3   disseminated by various blogs and articles. Moreover, those blogs were tailored to the
 4   cryptocurrency industry, meaning their readers are highly likely to be in the industry.
 5   Similarly, Coinbase’s statement on X would have been distributed to those in the
 6   cryptocurrency industry because (1) Coinbase’s followers are likely to consist of such
 7   individuals, and (2) X’s algorithm would promote a Coinbase post to users based on their
 8   interest in cryptocurrency.
 9      104. Plaintiff has been injured as a result of the false statements by a diversion of sales
10   from Plaintiff’s wBTC to Defendant’s cbBTC, which is demonstrated, in part, by a
11   significant drop in total wBTC circulation mere days after Defendant’s announcement.
12   Plaintiff’s reputation has further been damaged by the implication that its product
13   warranted delisting for reasons that relate to its trustworthiness.
14      105. Plaintiff seeks damages pursuant to 15 U.S.C. § 1117(a), which are subject to the
15   principles of equity, including Defendant’s profits, economic damages, and costs of this
16   action. Plaintiff further seeks trebling of actual damages under this provision, as well as
17   attorney’s fees.
18                                 FOURTH CAUSE OF ACTION
19        Violation of the Unlawful Prong of the California Unfair Competition Law
20                                 Cal. Bus. & Prof. Code §§ 17200, et seq.
21      106. Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
22   set forth fully herein.
23      107. Plaintiff brings this claim under the “unlawful” prong of California’s Unfair
24   Competition Law, Business and Professions Code section 17200, et seq., which provides:
25   “unfair competition shall mean and include any unlawful, unfair or fraudulent business
26   act or practice….” Business and Professions Code § 17200 (emphasis added).
27                  Unlawful Violations of the Federal Trade Commission Act
28                                       15 U.S.C. § 41, et seq.


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 1      108. The Federal Trade Commission Act at 15 U.S.C. § 45(a)(1) prohibits unfair or
 2   deceptive practices in or affecting commerce: “Unfair methods of competition in or
 3   affecting commerce, and unfair or deceptive acts or practices in or affecting commerce,
 4   are hereby declared unlawful.”
 5      109. “[U]nfair competitive practices [under 15 U.S.C. § 45(a)] were not limited to
 6   those likely to have anticompetitive consequences after the manner of the antitrust laws;
 7   nor were unfair practices in commerce confined to purely competitive behavior.” FTC v.
 8   Sperry & Hutchinson Co., 405 U.S. 233, 244 (1972).
 9      110. On November 10, 2022, the FTC has issued a “Policy Statement Regarding the
10   Scope of Unfair Methods of Competition Under Section 5 of the Federal Trade
11   Commission Act Commission File No. P221202.” That policy statement likewise
12   underlies Plaintiff’s UCL “unlawful prong” cause of action to the extent it is based on 15
13   U.S.C. § 45(a).
14      111. The FTC’s Policy Statement states that 15 U.S.C. § 45(a) “reaches beyond the
15   Sherman and Clayton Acts to encompass various types of unfair conduct that tend to
16   negatively affect competitive conditions.” Id. at 1. “Congress’s aim was to create a new
17   prohibition broader than, and different from, the Sherman and Clayton Acts.” Id. at 3.
18   “Congress evinced a clear aim that ‘unfair methods of competition’ need not require a
19   showing of current anticompetitive harm or anticompetitive intent in every case.” Id. at 4.
20      112. The FTC’s Policy Statement defines what a method of competition is under the
21   statute: “conduct undertaken by an actor in the marketplace—as opposed to merely a
22   condition of the marketplace, not of the respondent’s making, such as high concentration
23   or barriers to entry.” Id. at 8. “The conduct must implicate competition, but the relationship
24   can be indirect.” Id.
25      113. Coinbase’s conduct is a method of competition under the FTC Act and the
26   November 10, 2022 Policy Statement. Coinbase is an actor in the marketplace, and its
27   actions were not merely conditions of the marketplace. Coinbase voluntarily chose to
28   delist wBTC and voluntarily chose to make the public statements identified in the


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 1   Complaint. The conduct implicates competition because, as explained supra, by delisting
 2   wBTC Coinbase has removed its ability to compete on the dominant Coinbase platform
 3   entirely. Coinbase’s false public statements undermine confidence in wBTC and implicate
 4   competition by driving users to its own cbBTC knock-off.
 5      114. The FTC’s Policy Statement defines unfair under the FTC Act as “meaning that
 6   the conduct goes beyond competition on the merits. Competition on the merits may
 7   include, for example, superior products or services, superior business acumen, truthful
 8   marketing and advertising practices, investment in research and development that leads to
 9   innovative outputs, or attracting employees and workers through the offering of better
10   employment terms.” Id. at 9-10. “There are two key criteria to consider when evaluating
11   whether conduct goes beyond competition on the merits. First, the conduct may be
12   coercive, exploitative, collusive, abusive, deceptive, predatory, or involve the use of
13   economic power of a similar nature. It may also be otherwise restrictive or exclusionary,
14   depending on the circumstances, as discussed below. Second, the conduct must tend to
15   negatively affect competitive conditions. This may include, for example, conduct that
16   tends to foreclose or impair the opportunities of market participants, reduce competition
17   between rivals, limit choice, or otherwise harm consumers.” Id. at 10.
18      115. Coinbase’s conduct is unfair because it went well beyond competition on the
19   merits as defined by the FTC. Coinbase did not allow the market to decide which was the
20   superior product—it simply delisted its competitor to deny Plaintiff access to users on the
21   Coinbase platform. It used its own economic power in one realm (a platform operating
22   similar to a stock market for cryptocurrencies) to unfairly eliminate the ability to trade a
23   competitor’s cryptocurrency. And it publicly announced on its website that its goal was to
24   overtake wBTC with cbBTC.
25      116. Coinbase’s conduct also tended to negatively affect competitive conditions. By
26   foreclosing or impairing its rival’s access to Coinbase users, who had previously been
27   trading wBTC freely in their accounts, Coinbase effectively forced those users to liquidate
28   wBTC and switch to cbBTC if they wished to continue using wrapped Bitcoin on the


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 1   Coinbase platform. This necessarily limited choice for consumers and reduced
 2   competition between the two rival cryptocurrencies.
 3      117. The FTC’s Policy Statement specifically identifies what occurred here as an
 4   example of conduct that violates the FTC Act: “using market power in one market to gain
 5   a competitive advantage in an adjacent market by, for example, utilizing technological
 6   incompatibilities to negatively impact competition in adjacent markets.” Id. at 14-15.
 7   Because Coinbase used its market power as a cryptocurrency platform to exclude wBTC
 8   as a competitor in an adjacent market (wrapped Bitcoin), it both gained a competitive
 9   advantage and negatively impacted competition.
10      118. The FTC’s Policy Statement also identifies “discriminatory refusals to deal
11   which tend to create or maintain market power” as a violation of the FTC Act. Id. at 16.
12   Coinbase’s refusal to allow wBTC to continue trading on its platform (which occurred
13   suddenly after it had announced its copycat product) likewise falls within this prohibition.
14      119. Defendant’s unfair and deceptive practices affect interstate commerce because
15   wrapped Bitcoin transactions occur across state lines.
16      120. As explained supra, this conduct harmed Plaintiff by undermining the wBTC
17   product and undermining Plaintiff’s market share and ability to compete in the wrapped
18   Bitcoin market.
19                                Additional Unlawful Violations
20      121. As detailed in Plaintiff’s First and Second Causes of Action, Defendant’s acts
21   and practices are also unlawful because they violate the Sherman Antitrust Act 15 U.S.C.
22   § 2, and the Lanham Act 15 U.S.C. § 1125.
23      122. The unlawful conduct described above was based on misrepresentations,
24   deception, or omission, Defendant knew, or by the exercise of reasonable care should have
25   known, that their representations and omissions were untrue and misleading, and
26   deliberately made the aforementioned representations and omissions in order to deceive
27   members of the public.
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 1      123. Plaintiff and members of the public who purchased wBTC have suffered injury
 2   in fact and lost money and property as a result of this unfair competition and unlawful
 3   conduct, and Plaintiff is seeking all available remedies under the UCL.
 4      124. The unlawful, practices described herein present a continuing threat to Plaintiff
 5   and members of the public in that Defendant persists and continues to engage in these
 6   practices and will not cease doing so unless and until forced to do so by this Court.
 7   Defendant’s conduct will continue to cause irreparable injury to Plaintiff and members of
 8   the public unless enjoined or restrained. Under Business & Professions Code § 17203,
 9   Plaintiff is entitled to injunctive relief ordering Defendant to cease their unfair competitive
10   practices, and Plaintiff is entitled to restitution of the entirety of the Defendant’s revenues
11   associated with their unlawful acts and practices, or such portion of those revenues as the
12   Court may find equitable.
13                                  FIFTH CAUSE OF ACTION
14                        Violation of the Unfair and Fraudulent Prongs
15                             of the California Unfair Competition Law
16                                Cal. Bus. & Prof. Code §§ 17200, et seq.
17      125. Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
18   set forth fully herein.
19      126. Plaintiff brings this claim under the “unfair” and “fraudulent” prongs of
20   California’s Unfair Competition Law, Business and Professions Code section 17200, et
21   seq.
22      127. The term “unfair” is defined in the UCL includes “conduct that threatens an
23   incipient violation of an antitrust law, or violates the policy or spirit of one of those laws
24   because its effects are comparable to or the same as a violation of the law, or otherwise
25   significantly threatens or harms competition.” Cel-Tech Communications v. La Cellular,
26   973 P.2d 527, 565, n. 12 (1999). As detailed in Plaintiff’s First and Second Causes of
27   Action, Defendant’s acts and practices are unfair because they violate antitrust laws and
28   they violate the policy or spirit of the antitrust laws because Defendant’s conduct threatens


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 1   or harms competition by as described in the factual allegations in this Complaint and
 2   realleged by incorporation in the causes of action. As detailed in Plaintiff’s Third and
 3   Fourth Causes of Action, Defendants’ conduct further violates the policy or spirit of the
 4   Lanham Act and the FTC Act, which were likewise designed to address unfair competition
 5   in broader ways than the Sherman Act permits.
 6      128. These laws have further established public policies described supra, and
 7   incorporated herein by reference, which prohibit the conduct at issue and thus make it
 8   actionable under the UCL.
 9      129. Coinbase’s conduct was further immoral, unethical, oppressive, unscrupulous
10   and substantially injurious conduct. It is immoral, unethical, oppressive, and unscrupulous
11   to spread “FUD” about a competitor, which involves intentionally creating false
12   impressions in the minds of users who may choose between two competing products, and
13   which inherently involves dishonesty. It is likewise immoral, unethical, oppressive, and
14   unscrupulous to delist a product from an exchange, which has long been trading on that
15   exchange, for the purpose of reducing that product’s market share and replacing it with a
16   knock-off. Both forms of conduct are also substantially injurious to Plaintiff for the
17   reasons described herein.
18      130. Coinbase’s conduct satisfies the FTC test under the UCL prong as applied to
19   unfair competition between competitors for the reasons outlined supra in the “unlawful
20   prong” cause of action, which are incorporated herein by reference. Because Coinbase’s
21   conduct satisfies the FTC test, it is unfair under the UCL “unfair” prong.
22      131. Coinbase’s conduct satisfies the tethering test under the UCL “unfair” prong
23   because it violates public policy or statutes, as explained in the “unlawful prong” cause of
24   action. Because Coinbase’s conduct satisfies the tethering test, it is unfair under the UCL
25   “unfair” prong.
26      132. Coinbase’s conduct satisfies the balancing test under the UCL “unfair” prong
27   because the utility of Coinbase’s conduct is outweighed by harm to consumers, who can
28   no longer freely purchase wBTC and are being forced to liquidate their holdings of wBTC


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 1   against their will and are now left with fewer choices in the market. Similarly, Coinbase’s
 2   statements and efforts to create “FUD” have harmed consumers by causing consumers to
 3   sell their wBTC based on inaccurate or misleading facts. Because Coinbase’s conduct
 4   satisfies the balancing test, it is unfair under the UCL “unfair” prong.
 5      133. The fraudulent prong covers conduct which is likely to deceive reasonable
 6   members of the public.
 7      134. On November 19, 2024 at 9:14am, Coinbase Assets posted on X: “We regularly
 8   monitor the assets on our exchange to ensure they meet our listing standards. Based on
 9   our most recent review, Coinbase will suspend trading for wBTC (wBTC) on December
10   19, 2024, on or around 12pm ET.” Shortly thereafter, a Coinbase spokesperson was quoted
11   in Yahoo! Finance, stating, “[e]ach asset is reviewed independently to meet our listing
12   standards. wBTC no longer meets these standards.”
13      135. These statements were false misrepresentations, as explained supra and
14   incorporated by reference herein.
15      136. These statements also constitute omissions, which are actionable under the
16   fraudulent prong of the UCL.
17      137. Coinbase had a duty to disclose material facts to the public when it made these
18   statements. It is a fiduciary to any members of the public who trade wBTC (or other
19   cryptocurrencies) on the Coinbase exchange. Coinbase also had a duty to disclose because
20   it had (and still has) exclusive knowledge of the reasons why it delisted wBTC and what
21   “standards” it was applying in its review. Coinbase further had a duty to disclose because
22   it actively concealed those reasons from the public, and has never provided an explanation
23   for the delisting, or for why it has subsequently listed pictures of dogs wearing hats, cats
24   wearing sunglasses, and racist frogs as tradeable assets on its platform which ostensibly
25   meet its listing “standards.” And Coinbase had a duty to disclose because it made partial
26   representations that are misleading because some other material fact has not been
27   disclosed—namely, that the reasons behind the delisting were actually part of an effort to
28   crush the competing wBTC product, and not because of any “standards.”


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 1      138. Coinbase omitted material facts from its public statements about wBTC, namely
 2   the reasons for its delisting, the fact that its delisting was designed primarily to crush
 3   wBTC as a competitor to clear the way for cbBTC, the “standards” which wBTC
 4   supposedly failed, and the reasons why wBTC was being delisted while valueless and
 5   farcical memecoins supposedly met the same “standards.” These facts would have been
 6   important to consumers in deciding how to act, particularly in terms of whether to switch
 7   from wBTC to cbBTC, or whether to continue using wBTC outside of the Coinbase
 8   platform. By announcing and proceeding to delist wBTC, Coinbase portrays wBTC as
 9   being less credible than these memecoins.
10      139. Members of the public reasonably relied upon Defendant’s misrepresentations
11   regarding wBTC. In reasonable reliance on Defendant’s false representations, and as a
12   result of Defendant’s unlawful conduct and unfair competition, Plaintiff and members of
13   the public experienced a rapid decline in the amount of wBTC in the market, which
14   translates to a reduction in value.      If members of the public had been aware that
15   Defendant’s representations were false or had the Defendant not engaged in the unlawful
16   and unfair conduct described herein, Plaintiff and members of the public would not have
17   been injured. Plaintiff and consumers ended up with wBTC that was devalued, burned,
18   inaccurately marketed, and did not have the characteristics, qualities, or value promised
19   by Defendant, and therefore Plaintiff and other consumers have suffered injury in fact.
20      140. Plaintiff and members of the public who purchased wBTC have suffered injury
21   in fact and lost money and property as a result of this unfair competition and fraudulent
22   conduct, Plaintiff is seeking all available remedies under the UCL.
23      141. The unfair and fraudulent practices described herein present a continuing threat
24   to Plaintiff and members of the public in that Defendant persists and continues to engage
25   in these practices and will not cease doing so unless and until forced to do so by this Court.
26   Defendant’s conduct will continue to cause irreparable injury to Plaintiff and members of
27   the public unless enjoined or restrained. Under Business & Professions Code § 17203,
28   Plaintiff is entitled to injunctive relief ordering Defendant to cease their unfair competitive


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 1   practices, and Plaintiff is entitled to restitution of the entirety of the Defendant’s revenues
 2   associated with their unfair acts and practices, or such portion of those revenues as the
 3   Court may find equitable.
 4                                  SIXTH CAUSE OF ACTION
 5                  Intentional Interference with Prospective Economic Advantage
 6      142. Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
 7   set forth fully herein.
 8      143. Plaintiff and numerous third parties were in economic relationships because
 9   those third parties mint and burn wBTC. BiT Global has economic relationships with third
10   party approved merchants who interact with the end-users of wBTC. Those end users can
11   mint or burn wBTC by making a request through the merchant, who performs a Know
12   Your Customer and Anti-Money Laundering process, and then mints or burns the wBTC.
13      144. BiT Global receives an economic benefit from the minting and burning of wBTC,
14   and earns fees from doing so. There was a probable future benefit from these relationships
15   with third parties because wBTC would continue to be minted and burned, and the more
16   it is used, the more economic benefit Plaintiff would receive in the future.
17      145. Coinbase knew of these relationships, and had knowledge of how wBTC
18   functioned (because the product traded on Coinbase, because of Coinbase’s general
19   knowledge of the industry, and through the process of cloning wBTC for Coinbase’s
20   knock-off). The existence of these relationships was publicly known, as was the
21   knowledge of how BiT Global receives economic benefits from them.
22      146. Defendant engaged in intentional wrongful conduct with the goal of disrupting
23   BiT Global’s relationship with the third party wBTC users and the merchants. As
24   described herein, Coinbase’s false and defamatory public statements, as well as its plan to
25   delist wBTC to force users of Coinbase’s platform, were intended to disrupt BiT Global’s
26   relationships. This is evidenced, for example, by Coinbase publicly bragging on the
27   cbBTC page of its website that it would overtake wBTC in market share within six months
28   of launch.


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 1      147. By engaging in this conduct, Defendant intended to disrupt or knew that
 2   disruption was certain or substantially certain to occur. Coinbase knew (and planned) that
 3   wBTC would lose market share to the Coinbase knock-off product.
 4      148. The economic relationship was disrupted, as evinced by, among other things, the
 5   drop in total wBTC in circulation shortly after Defendant’s malicious statements, as
 6   described supra.
 7      149. Coinbase’s conduct was independently wrongful because it is proscribed by
 8   common law, which renders trade libel tortious. Plaintiff incorporates by reference its
 9   explanation from the trade libel cause of action as to why the conduct is proscribed by
10   common law. Coinbase’s conduct is further proscribed by the Sherman Act, the FTC Act,
11   and the Unfair Competition Law. Plaintiff incorporates by reference its explanation from
12   the Sherman Act claims and the Unfair Competition Law claims as to why Coinbase’s
13   conduct is proscribed by those laws.
14      150. Plaintiff was harmed and Defendant’s conduct was a substantial factor in causing
15   Plaintiff’s harm. Coinbase’s announcement of the delisting has already forced users to
16   begin selling their wBTC, and the false statements and implications made by Coinbase
17   have led to a loss of confidence in wBTC, resulting in a drop in the total circulation of
18   wBTC as described supra. That drop necessarily reduces Plaintiff’s revenue because there
19   are fewer users of the product.
20                              SEVENTH CAUSE OF ACTION
21                  Negligent Interference with Prospective Economic Advantage
22      151. Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
23   set forth fully herein. Plaintiff specifically incorporates the allegations in its cause of
24   action for Intentional Interference with Prospective Economic Advantage.
25      152. Coinbase owed BiT Global a duty of care. The transactions at issue were intended
26   to affect the plaintiff, and Coinbase made that intent clear by “dunking” on wBTC in its
27   webpage announcing its knock-off product. There is a close connection between
28   Coinbase’s conduct and the injury suffered by the Plaintiff, because Coinbase’s conduct


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 1   was designed specifically to try to unfairly reduce the market share of wBTC and to create
 2   “FUD” surrounding the product. Coinbase’s conduct is morally blameworthy because as
 3   a goliath in the cryptocurrency injury, it is abusing the network effects of its platform to
 4   copycat an innovative product whose market share it coveted.
 5      153. Coinbase’s duty of care is also shown by the policy of preventing future harm. If
 6   Coinbase is allowed to persist in Microsoft-style kneecapping of its competitors, it will
 7   stifle innovation in the cryptocurrency industry and put numerous other products at risk
 8   of suffering similar misconduct. Just as Microsoft gave products away temporarily to
 9   destroy Lotus 1-2-3, Netscape, Wordperfect, and many others, only to jack up the prices
10   on consumers once it had successfully stolen the innovations of others, Coinbase threatens
11   to abuse its power not just in relation to the Plaintiff, but to many others in the future.
12      154. The disruption of Bit Global’s economic relationships with the identified third
13   parties was reasonably foreseeable. Indeed, as described supra, Coinbase literally posted
14   a prediction to that effect on its own website. Coinbase could have reasonably foreseen
15   that by issuing a cryptic statement that wBTC had failed to meet its listing standards,
16   suggesting that there was further damaging information in its possession, this would cause
17   fear, uncertainty, and doubt among the users and the merchants Bit Global had existing
18   economic relationships with. Coinbase likewise knew that abusing its market power to
19   delist a competing product just as it was introducing its own knock-off would cause users
20   to sell wBTC.
21      155. As described in the cause of action for Intentional Interference with Prospective
22   Economic Advantage, and as incorporated by reference here, Plaintiff was harmed and
23   Defendant’s conduct was a substantial factor in causing Plaintiff’s harm.
24                                 EIGHTH CAUSE OF ACTION
25                                            Trade Libel
26      156. Plaintiff incorporates all preceding and subsequent paragraphs by reference as if
27   set forth fully herein.
28


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 1      157. Defendant made a statement that clearly or necessarily was understood to
 2   disparage the quality of Plaintiff’s product. As outlined above, these include Defendant’s
 3   statement on X and its statements to Yahoo! Finance and Cointelegraph about delisting
 4   wBTC.
 5      158. These statements are false, misleading, confusing and deceptive because
 6   Coinbase listed other coins in the same time period as the delisting of wBTC without
 7   applying any purported listing standard, such as $MOG, $PEPE, and $WIF. In fact,
 8   Coinbase did not actually apply a listing standard to wBTC. Coinbase delisted wBTC with
 9   the intention of removing it as a competitor to Coinbase’s newly launched cbBTC.
10   Coinbase’s statement was designed to scare members of the public away from wBTC and
11   to decrease wBTC’s market share by creating “FUD.”
12      159. The statements were made on X and in Yahoo! Finance, so the statements were
13   made public. More than 500,000 people have viewed the statement on X alone.
14      160. The statements were untrue. The statements further implied false assertions of
15   fact, namely that wBTC was unreliable or unsafe to invest in or transact business in. These
16   statements implied the existence of undisclosed supporting facts for those statements
17   which Coinbase possessed, namely that there was negative information in Coinbase’s
18   possession which made wBTC no longer a safe or reliable product.
19      161. Defendant knew the statements were untrue, or made them in reckless disregard
20   of their truth or falsity, and intended those statements to cause harm to Plaintiff. Indeed,
21   Coinbase publicly advertises its intention to seize market share from wBTC and that its
22   product cbBTC will pass wBTC in market share within six months. The statements were
23   intended to create “FUD” (fear, uncertainty, and doubt) about the viability of wBTC and
24   to erode confidence in it to convince users to switch to Coinbase’s cbBTC, and were part
25   of an intentional plan to damage wBTC and eliminate it as competition for Coinbase.
26      162. As explained above, these statements did in fact cause harm to Plaintiff, and are
27   continuing to do so by causing users of wBTC to sell the product and switch to cbBTC,
28   thus eroding wBTC’s market share exactly as Coinbase intended. Those statements have


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 1   induced users of wBTC to no longer use the product, but instead to use cbBTC, the
 2   Coinbase knock-off.
 3      163. Based on data from CryptoQuant, on November 19, the day of Coinbase’s
 4   announcement, there were approximately 146,172 wBTC in circulation representing more
 5   than $13.1 billion in value based on Bitcoin’s price on that day. Four days after Coinbase’s
 6   announcement that it would delist wBTC, on November 23, the total wBTC in circulation
 7   dropped to approximately 140,830. The total wBTC in circulation dropped again to
 8   approximately 138,124 by November 30. Together these drops represent a reduction of
 9   more than 5% of total wBTC supply in less than two weeks. By December 5th, the wBTC
10   supply had dropped further still to approximately 137,593.
11      164. It was the natural and probable result of the publication of these statements that
12   this drop in wBTC use would occur, as by implying that a large company such as Coinbase
13   had access to undisclosed negative information about wBTC, it would tend to cause fear,
14   uncertainty, and doubt among users about whether to maintain their ownership and use of
15   wBTC.
16      165. These statements further damaged the reputation of BiT Global as a business.
17   They suggest that Plaintiff was not trustworthy or reliable in its operations of wBTC, and
18   were intended to induce others not to do business with Plaintiff. Part of Coinbase’s plan
19   to gain market share revolves around third party businesses developing cryptocurrency
20   technologies which cbBTC can be used with, and Coinbase intended to frighten such third-
21   party businesses away from development involving Plaintiff.
22                                       PRAYER FOR RELIEF
23           Wherefore, Plaintiff demands judgment as follows:
24      A.     Declaratory judgment that Defendant’s actions are unfair and unlawful;
25      B.     An award of injunctive relief as permitted by law or equity including an order
26   prohibiting Defendant from engaging in the unlawful and tortious acts described above,
27   as well as prohibiting Defendant from delisting wBTC;
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 1      C.      A finding that such injunction constitutes public injunctive relief, has resulted in
 2   the enforcement of an important right affecting the public interest and otherwise meets the
 3   requirements of California Code of Civil Procedure § 1021.5, and an award of attorney’s
 4   fees and costs pursuant to § 1021.5;
 5      D.      For judgment for Plaintiff on their claims in an amount to be proven at trial, for
 6   economic, monetary, consequential, compensatory or statutory damages caused by
 7   Defendant’s practices, along with punitive damages; including but not limited to the harm
 8   of loss in aggregate value of wBTC caused by the Defendant in excess of one billion
 9   dollars;
10      E.      For restitution and/or other equitable relief, including without limitation
11   disgorgement of all revenues, profits, and unjust enrichment that Defendants obtained as
12   a result of its unlawful, unfair, and deceptive business practices described herein;
13      F.      An award of attorney’s fees and costs;
14      G.      For pre-judgment and post-judgment interest as provided for by law or allowed
15   in equity; and
16      H.      Such other and further relief as is necessary and appropriate.
17                                   DEMAND FOR JURY TRIAL
18              Pursuant to Fed. R. Civ. Proc. 38(b), Plaintiff demands a trial by jury on all issues
19   so triable.
20
21   DATED: December 13, 2024                                  KNEUPPER & COVEY, PC
22
                                                             /s/Kevin M. Kneupper
23                                                           Kevin M. Kneupper, Esq.
24                                                           Attorney for Plaintiff BiT Global
                                                             Digital Limited
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